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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                 4:09CR3119-2
                                               )
              V.                               )
                                               )
CARLOS CARPIO,                                 )                     ORDER
                                               )
                      Defendant.               )
                                               )


       I am in receipt of a letter from the defendant.

       IT IS ORDERED that:

       (1)    The Clerk of Court shall file the letter.

       (2)     Treating the letter as a motion, the motion is referred to Magistrate Judge Zwart
for resolution.

      (3)     The Clerk of Court shall provide a copy of this order and the defendant’s letter
to counsel for the government, to counsel for the defendant, and to the defendant at
defendant’s last known address.

       DATED this 17th day of March, 2010.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              United States District Judge
